Case 2:03-CV-02568-BBD-tmp Document 306 Filed 07/20/05 Page 1 of 6 Page|D 296

 

   

 

 

UNITED STATES DISTRICT cOURT l F"M “49/ D'G'
FOR TH_E W§;§§§§SP$SE§§ TENNESSEE. 05 JUL 20 AH 102 O.:-
EDGAR JOHNSON, ) \'rv C|Cl?y .. .l‘rPglgUm
Plaimiff, l
v. § No. 03-2567 - D/P
HOME TECH SERVICES C0., LNC., ET AL., §
Defendants. n §
BOBBIE J. CARR, )
PlaintiH`, §
v. § No. 03-2569 - D/P
HOME TECH SERVICES CO., INC., ET AL., §
Defendants. §
CHARLENE SPINKS, )
Plaintiff, §
v. § No. 03-2568 _ D/P /
HOME TECH SERVICES Co., INC., ET AL., §
Defendants. §

 

ORDER ON JOINT MOTION FOR NEW TRlAL DATES

 

Before the Court is the Joint Motion for New Trial Dates filed by all the parties. The

Court hereby finds that the Motion is well taken and should be granted

  

Thfs document entered on the docket s
with Rule 58 and/or 79(a) FHCP on

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Case 2:03-CV-02568-BBD-tmp Document 306 Filed 07/20/05 Page 2 of 6 Page|D 297

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECR_EED that the trials of these

casesaresetfor q/\\/¢ZDOG "G>(` OZ- ¢SZS(=>")‘) \O/W/<QOOB-For‘ OB- 3568
\O/$o/aoecz er 03 -.ase"\
IT ls 30 ORDER_ED, this@f&ay o \,A # 2005.

      

5106091,]

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 306 in
case 2:03-CV-02568 Was distributed by faX, mail, or direct printing on
.1 uly 21, 2005 to the parties listed.

 

 

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Case 2:03-cV-02568-BBD-tmp Document 306 Filed 07/20/05 Page 4 of 6 Page|D 299

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Case 2:03-cV-02568-BBD-tmp Document 306 Filed 07/20/05 Page 5 of 6 Page|D 300

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Case 2:03-cV-02568-BBD-tmp Document 306 Filed 07/20/05 Page 6 of 6 Page|D 301

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Honorable Bernice Donald
US DISTRICT COURT

